              IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                     Civil Action No. 1:20-CV-1096

SUPRIYA KHAZANIE,

            Plaintiff,

      v.

UNIVERSITY OF NORTH CAROLINA                        LR 5.5 REPORT
AT CHAPEL HILL and KATIE
THORNSVARD, in her individual
capacity,

            Defendants.


     Plaintiff Supriya Khazanie and Defendants University of North Carolina

and Katie Thornsvard hereby submit the following Local Rule 5.5 Report:

     [X] Conference: The parties have discussed the issues of confidentiality

     raised in this case and the potential need for filing documents under seal.

     That discussion included the nature of any confidential documents that

     may be involved in the case, the possibility of using stipulations to avoid

     the need to file certain documents, and the possibility of agreed-upon

     redactions of immaterial confidential information in filings to avoid the

     need for filing documents under seal.

     [__] Non-Parties: Because a non-party has produced documents

     pursuant to a protective order or is otherwise claiming confidentiality




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over documents filed or expected to be filed in this case, the conference

included ___________________________ (identify non-party).

[X] Default: The parties certify that few, if any, documents will be filed

under seal. The parties agree to use the default procedures of LR 5.4(c).

In addition, if the party filing the motion to seal is not the party claiming

confidentiality, the filing party must meet and confer with the party

claiming confidentiality as soon as practicable, but at least two (2) days

before filing the documents, to discuss narrowing the claim of

confidentiality. The motion to seal must certify that the required

conference has occurred, and the party claiming confidentiality must file

supporting materials required by LR 5.4(c)(3) within 14 days of the

motion to seal.

[__] Alternative Proposal for Cases with Many Confidential

Documents: In order to address claims of confidentiality and reduce the

need to file briefs and exhibits under seal, the parties propose the

alternative procedure set out in the attached proposal, either jointly or

as competing alternatives, for consideration by the Court.

[X] Other relevant information: The parties have filed a Consent

Protective Order for the Court’s consideration with their Rule 26(f)

report.



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Respectfully submitted, this the 14th day of June, 2022.

                           JOSHUA H. STEIN
                           Attorney General

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                          CERTIFICATE OF SERVICE

         I do hereby certify that I have on this day electronically filed a copy of

the foregoing LR 5.5 REPORT with the Clerk of the Court using the CM/ECF

system, which will send notification of such filing to all registered CM/ECF

users.

         This the 14th day of June, 2022.


                                       /s/ Kari R. Johnson
                                       Kari R. Johnson
                                       Special Deputy Attorney General




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